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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND


MAYOR AND CITY COUNCIL OF
BALTIMORE, et al.,

Plaintiffs,

vs.                                                     Civil Action No. 1:25-cv-458-ABA

CONSUMER FINANCIAL PROTECTION
BUREAU, et al.,

Defendants



                               DECLARATION OF FAITH LEACH


        I, Faith Leach, declare as follows:

Background

              1. I am over eighteen years old, of sound mind, and fully competent to make this

                 declaration. I also have personal knowledge of the factual statements contained

                 herein.


              2. I am the Chief Administrative Officer of the City of Baltimore. I have served in

                 this role since March 2023.


              3. In my role, I manage the day-to-day government operations across the entire City

                 enterprise, ensuring the effective, efficient, and equitable delivery of City

                 services.


              4. The City of Baltimore is a municipal corporation organized pursuant to Articles

                 XI and XI-A of the Maryland Constitution, entrusted with all the powers of local
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      self-government and home rule afforded by those articles.


   5. Baltimore is the largest city in Maryland and the thirtieth largest city in the United

      States.


   6. Baltimore is a city of nearly 600,000 people of all backgrounds. According to the

      2020 Census, 60 percent of Baltimore’s population is Black, 27 percent is White,

      8 percent is Hispanic or Latino, and 2.5 percent is Asian. Five percent of the City

      was identified by the Census as being of two or more races.


   7. Among its other missions, the Baltimore City Law Department has a special

      responsibility to protect Baltimoreans from predatory business practices of all

      kinds, including misleading practices, unfair and deceptive practices, and

      discrimination in lending.


   8. White suburbs in Baltimore and the City itself fought well into the twentieth

      century to maintain racial segregation in housing, including through criminal

      penalties imposed on Black residents who moved into designated “white”

      neighborhoods. Baltimore realtors were also some of the first to experiment with

      the egregiously discriminatory practice of “redlining.”


   9. Just last year, during the City’s annual Civil Rights Week celebration, Baltimore

      hosted a panel titled “From Protest to Progress: How the Birthplace of Redlining

      Turned into the Black Butterfly,” which discussed the history of redlining in

      Baltimore and the attempts by the City to reverse the effects in the community.


   10. In light of its history, Baltimore takes its role enforcing consumer protections very




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      seriously. Beginning in 2008, for example, Baltimore sued Wells Fargo under the

      Fair Housing Act based on allegations that the bank had engaged in unlawful,

      irresponsible, unfair, deceptive, and discriminatory lending practices that resulted

      in foreclosures on loans in minority neighborhoods and to minority borrowers.

      After a protracted legal battle, the City secured a $175 million settlement for

      disbursement to the affected class.


   11. Historic consumer protection legislation passed in Baltimore in 2023 updated the

      city’s consumer protection ordinance and gave the Law Department important

      new powers to take action against companies who harm Baltimore citizens

      through unfair, deceptive, and abusive practices.


   12. Baltimore is devoted to enforcing these consumer protections for the benefits of

      its residents, but its time and resources are limited.


   13. The Consumer Financial Protection Bureau’s office for collecting and tracking

      consumer complaints maintains a database to facilitate the centralized collection

      of, monitoring of, and response to consumer complaints.


   14. Representatives of the Baltimore’s Law Department have active accounts with the

      CFPB consumer complaint database, which they access to understand the issues

      facing the people of Baltimore and to obtain information regarding potential

      predatory practices that affect the economic well-being of the city and its

      residences.


   15. These representatives use the complaint database to identify and prioritize

      affirmative consumer-protection actions to protect Baltimoreans. Without access



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      to the database, the City will be less efficient in these identification and

      prioritization efforts. Baltimore enforcement officials will be forced to conduct

      additional research that will take time away from other work. And their research

      efforts will be less likely to yield comprehensive results than the CFPB’s, given

      the CFPB complaint function’s high visibility and the CFPB’s central role in the

      enforcement space. As a result, individual Baltimore enforcement actions will be

      less effective and more resource-intensive.


   16. Baltimore staff have also attended trainings put on by the CFPB to stay abreast of

      current issues in consumer protection and fair lending in order to be able to serve

      the people of the City. Without these trainings, Baltimore will have to reallocate

      resources to collect this information itself or identify another source.


   17. In addition, CFPB’s vigorous enforcement efforts and its oversight of federal

      consumer protection laws provides an invaluable complement to Baltimore’s

      efforts to protect its residents from scams and abuse. Without CFPB, people in

      Baltimore would be more at risk of being tricked and trapped by shady financial

      practices, and the city would be forced to divert resources from other essential

      functions just to provide the same level of protection that residents enjoy now.

      Moreover, without the CFPB, Baltimore would be deprived of important

      information regarding potential predatory practices and consumer protection efforts

      that it has used to best serve the people in its boundaries.




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Executed:     February 12, 2025



                                          By:
                                                Faith Leach
                                                Chief Administrative Officer
                                                City of Baltimore




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